50 F.3d 8
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Eliseo ENCARNCACION, Defendant-Appellant.
    No. 94-7215.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  January 19, 1995Decided:  February 17, 1995
    
      Eliseo Encarnacion, Appellant Pro Se.
      Harry Thomas Church, Assistant United States Attorney, Charlotte, NC, for Appellee.
      Before WILKINS and MICHAEL, Circuit Judges, and SPROUSE, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his 28 U.S.C. Sec. 2255 (1988) motion.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Encarnacion, Nos.  CR-92-96-MU;  CA-94-167-3-MU (W.D.N.C. Sept. 20, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.*
    
    AFFIRMED
    
      
        *
         We deny Encarnacion's motion to remand to the district court, but note that he may file a motion for relief in the district court pursuant to Federal Rule of Civil Procedure 60(b)
      
    
    